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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

    LUXOTTICA OF AMERICA, INC.,                  :      Case No. 1:20-cv-698
                                                 :
          Plaintiff,                             :      Judge Timothy S. Black
                                                 :
    vs.                                          :
                                                 :
    ALLIANZ GLOBAL RISKS US                      :
    INSURANCE COMPANY,                           :
                                                 :
           Defendant.                            :

               ORDER RESOLVING THE PARTIES’ CROSS-MOTIONS
                   FOR SUMMARY JUDGMENT (Docs. 47, 50)

          This civil action is before the Court on the parties’ cross-motions for summary

judgment (Docs. 47, 50) and the parties’ responsive memoranda (Docs. 51, 52, 53, 54). 1

                                     I. BACKGROUND 2

          The dispute presented in these cross-motions for summary judgment is narrow:

whether Defendant Allianz Global Risks US Insurance Company (“Allianz”), under an



1
  Pursuant to the Calendar Order (Doc. 43), Luxottica filed a combined cross-motion for
summary judgment and opposition to Allianz’s motion for summary judgment (Docs. 50, 51);
and Allianz filed a combined response in opposition to Luxottica’s motion for summary
judgment and reply in support of Allianz’s motion for summary judgment (Docs. 52, 53). The
combined filings (and each filing’s attachments) are identical, but were docketed twice to capture
both filings. For purposes of this Order, the Court will reference the lower-numbered document.
2
  Pursuant to the Court’s Standing Order, each party filed a Statement of Proposed Undisputed
Facts, as well as a Response to Proposed Statement of Undisputed Facts and a Statement of
Disputed Issues of Material Fact. (Docs. 47-2, 50-2, 50-3, 52-2, 52-3, 54-2). Notably, the
parties’ do not generally dispute the actual underlying facts or documents, only whether certain
facts and documents are relevant to the dispute and/or were presented properly to the Court. In
this fact section, the Court details the material, undisputed facts related to interpreting the
insurance policy – the issue at hand.
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insurance policy purchased by Plaintiff Luxottica of America, Inc. (“Luxottica”), owes a

duty to defend Luxottica in a class action lawsuit (the “Underlying Lawsuit”).

        A.        The Parties

        Luxottica operates retail locations and is more commonly known to the public as

“LensCrafters.” (Doc. 54-2 at ¶ 1). At LensCrafters’ locations, Luxottica provides

consumers with optical services including eyewear fittings, filling prescriptions, and

selling ophthalmic lenses. (Id. at ¶ 2). 3 Allianz is the insurance company from which

Luxottica purchased general commercial liability insurance. (Id. at ¶ 4).

        B.        The Insurance Policies

        The parties agree that there are four Commercial General Liability Policies (the

“Policy”) relevant to this action, providing coverage for years 2013 through 2017. (Id.;

see Doc. 50-6, Exs. 1–4). The parties agree that the terms contained in each of the

Policies are substantially the same and/or the same for the purposes of this dispute. (Doc.

50-3 at ¶ 1). 4

        The Policy first outlines general commercial liability coverage in a section titled

“Commercial General Liability Coverage Form.” (Doc. 1-1 at PageID 40–55). This

section describes coverage for “bodily injury,” “personal and advertising injury,” and


3
 Allianz denies these facts about Luxottica’s business as immaterial for the Court’s
consideration on summary judgment; however, Allianz does not deny the substance. Thus, the
Court considers them undisputed. And, in any event, providing some context on the parties will
be helpful for the reader moving forward.
4
  It is undisputed that the Policy attached to Luxottica’s Complaint is a true and correct copy of
one of the Policies and may be considered for purposes of this Order. (Doc. 50-3 at ¶ 1).
However, Luxottica then attaches additional copies of all Policies to its motion for summary
judgment. For ease of citation, the Court will cite to the Policy attached to the Complaint.

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“medical payments.” (Id.) Luxottica does not argue that this section provides coverage

for purposes of the current dispute.

       In the Policy, added onto the “Commercial General Liability Coverage Form,” are

various exclusions and endorsements. (See, e.g. Doc. 1-1 at PageID 30, “Forms and

Endorsement List”). The exclusions and endorsements discuss coverage and non-

coverage for specific topics not discussed or in greater detail than the general policy.

(Id.) For example, there are forms and endorsements titled: “Exclusion – Asbestos

Liability,” “Fungi or Bacteria Exclusion,” and “Named Insured Endorsement.” (Id. at

PageID 30–31). At issue in the current dispute is the Optical Professional Liability

Endorsement (the “OPL Endorsement”), which provides:

              We will pay those sums that the insured legally obligated to
              pay as damages because of any error or omission in providing
              professional services in the practices of optometry or optical
              services by your or on your behalf. Such services can be
              provided by any optician, optometrist or anyone with whom
              you have a contract, agreement, or relationship including
              independent contractors and volunteers.        Such services
              include but are not limited to examinations, referrals,
              prescribing, fitting filing, selling, demonstration and
              distributing ophthalmic lenses and similar products, but do
              not include surgery….We will have the right and duty to
              defend the insured against any “suit” seeking damages to
              which this insurance applies. However, we will have no duty
              to defend the insured against any “suit” seeking damages to
              which this insurance does not apply. We may, at our
              discretion, investigate any “occurrence” and settle any claims
              or “suit” that may result.

(Doc. 54-2 at ¶ 5–6; Doc. 1-1 at PageID 92).




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       The parties also have contracted for Umbrella Policies. (Doc. 52-2 at ¶ 7). Each

of the Umbrella Policies provides a coverage limit of $27,000,000 per occurrence. (Doc.

52-2 at ¶ 8). The Umbrella Policies further provide:

              This insurance does not apply to “bodily injury”, “property
              damage”, “personal injury” or “advertising injury” arising out
              of the rendering or failure to render any professional services
              and any act, error, omission, malpractice or mistake of a
              professional nature committed by the “insured” or any person
              for whom the “insured” is legally responsible. However, if
              insurance for such “bodily injury”, “property damage”,
              “personal injury” or “advertising injury” is provided by a
              policy listed in the Schedule of Underlying Insurance: 1. This
              exclusion shall not apply; and 2. The insurance provided by
              this policy will not be broader than the insurance coverage
              provided by the policy listed in the Schedule of Underlying
              Insurance.

(Doc. 54-2 at ¶ 9).

       C.     The Underlying Lawsuit

       The Underlying Lawsuit is a consolidated class action: Yesinia Ariza, et al., v.

Luxottica Retail North America, an Ohio Corporation d/b/a LensCrafters, No. 1:17-cv-

05216-PKC-RLM (E.D.N.Y.). (Doc. 50-3 at ¶ 3; Doc. 52-2 at ¶ 10–11). The Underlying

Lawsuit includes three actions filed against Luxottica: Kathleen Infante, et al. v.

Luxottica Retail North America, Case No. 3:17-cv-05145 (N.D. Cal. Sept. 5, 2017);

Yesenia Ariza and David Soukup, et al. v. Luxottica Retail North America, Case No.

1:17-cv-05216 (E.D.N.Y. Sept. 5, 2017); and Gracelynn Tenagila, et al. v. Luxottica

Retail North America, Case No. 2:17-cv-14311 (S.D. Fla. Sept. 5, 2017). (Id.)

       After the actions were consolidated, an amended complaint was filed on January 5,

2018, followed by a second amended complaint (“the Underlying Complaint”) on


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September 21, 2018. (Doc. 52-2 at ¶¶ 13–14). Pursuant to the Policy, Luxottica gave

timely notice of the Underlying Lawsuit to Allianz. (Doc. 52-2 at ¶ 18). 5

        The Underlying Complaint contains allegations against Luxottica’s AccuFit

System. (See generally, Underlying Complaint). Luxottica introduced its AccuFit

system in or around 2009. (Id. at ¶ 28). AccuFit was used by Luxottica to measure a

customer’s pupillary distance before manufacturing prescription eyeglasses. (Id. at ¶¶ 2,

29–31). AccuFit was allegedly used as a selling point for Luxottica, claiming that the

system provided pupillary distance measurements “five times more accurate” than

traditional measurements; thus, making better and more accurate prescription eyeglasses.

(Id. at ¶¶ 3, 32). However, according to the Underlying Complaint, AccuFit could not

provide more accurate prescription eyeglasses. (Id. at ¶ 41).

        AccuFit was a failed system because, even with more accurate measurements,

Luxottica’s “decades-old” manufacturing equipment was incapable of producing

eyeglasses with pupillary distance measurements that were “five times” more accurate

than traditional methods. (Id. at ¶¶ 3–4, 42–44). The Underlying Complaint contains

various allegations that Luxottica knew it was incapable of manufacturing eyeglasses

with the level of precision that the AccuFit system measured, yet nevertheless pushed the

AccuFit glasses to consumers. (Id. at ¶¶ 44–50).


5
 The Court takes judicial notice of the Underlying Complaint. Second Amended Complaint,
Yesinia Ariza, et al., v. Luxottica Retail North America, an Ohio Corporation d/b/a LensCrafters,
No. 1:17-cv-05216-PKC-RLM (E.D.N.Y. Sept. 21, 2018), ECF No. 50. The Underlying
Complaint was also attached to Luxottica’s motion for summary judgment. (Doc. 50-5 at Ex. 6).
To avoid confusion of the docket numbers and for clarity, the Court hereinafter will cite the
Underlying Complaint allegations as “Underlying Complaint at ¶ ____.”

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       The Underlying Complaint is composed of the California Class, the Florida Class,

and the New York Class. (Id. at ¶ 76). Each class consists of residents of each state that

purchased prescription eyeglasses from Luxottica from September 5, 2011 to the present.

(Id.) As alleged, the questions of law and fact common to all the classes include:

                 a.     Whether [Luxottica] misrepresented material facts
                        about its manufacturing process, including the fact that
                        AccuFit measurements could not be converted into the
                        manufactured lenses;

                 b.     Whether [Luxottica] omitted material facts about its
                        manufacturing process, including the fact that AccuFit
                        measurements could not be converted into the
                        manufactured lenses;

                 c.     Whether [Luxottica] engaged in deceptive acts or
                        practices, including misrepresenting and/or omitting
                        the fact that AccuFit measurements could not be
                        converted into the manufactured lenses; and

                 d.     Whether     [Luxottica]    falsely    advertised  its
                        manufacturing process at the time of sale, including
                        the fact that AccuFit measurements could not be
                        converted into the manufactured lenses.

(Id. at ¶ 81).

       The claims made against Luxottica in the Underlying Lawsuit include:

       1.        Violation of the California Business and Professions Code § 17200, et seq.,
                 for unlawful, unfair, and/or fraudulent business practices, (id. at ¶¶ 87–96);

       2.         Violation of the California Business and Professions Code § 17500, et seq.,
                 the “False Advertising Law,” (id. at ¶¶ 97–102);

       3.        Violation of the California Consumer Legal Remedies Act, Civil Code §§
                 1761(a), 1770, for misrepresenting the certification, characteristics, and
                 quality of goods to consumers, (id. at ¶¶ 103–111);




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       4.     Violation of the Florida Deceptive and Unfair Trade Practices Act §
              501.201, et seq., (id. at ¶¶ 112–119);

       5.     Violation of the New York General Business Law § 349, et seq., which
              prohibits “deceptive acts or practices in the conduct of any business, trade
              or commerce in the furnishing of any service in” New York, (id. at ¶¶ 120–
              129);

       6.     Violation of the New York General Business Law § 350, et seq., the state’s
              false advertising law, (id. at ¶¶ 130–137);

       7.     Quasi-contract and/or unjust enrichment, (id. at ¶¶ 138–142);

       8.     Fraudulent misrepresentation, (id. at ¶¶143–146); and

       9.     Fraudulent omission, (id. at ¶¶ 147–150).

       The Underlying Plaintiffs in the Underlying Lawsuit seek various damages related

to their purchase of prescription eyeglass from Luxottica, including “[r]estitution of all

charges paid by Plaintiffs and the Class,” “[d]isgorgement to Plaintiffs and the Class of

all monies wrongfully obtained and retained by Defendant;” “statutory damages,

penalties, [and] treble damages, as provided by law,” and “injunctive relief,” enjoining

Luxottica from continuing to make false statements about the AccuFit system. (Id. at

Prayer for Relief, PageId 1110). The parties do not dispute that the Underlying Plaintiffs

are not seeking damages from “bodily injury” or “property damage.”

       D.     Allianz Initially Defends

       On September 12, 2017, Sedgwick Claims Management Services, Inc.

(“Sedgwick”) sent a tender letter to Myron Wasiunec, a Senior Liability Claims

Specialist for Allianz, referencing the three lawsuits filed against Luxottica. (Doc. 50-3

at ¶ 4; Doc 47-3 at Ex. 1). The Sedgwick letter provided the contact information for




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Luxottica representatives Jason Groppe and Adrienne Holiday-Singletary. (Doc 47-3 at

Ex. 1).

          On September 14, 2017, Wasiunec sent email correspondence to Groppe and

Holiday-Singletary regarding the Sedgwick tender letter, acknowledging Luxottica’s

policy, and reserving all rights under the Policy while Allianz continued its investigation

of the claims against Luxottica. (Doc. 50-3 at ¶ 4; Doc 47-3 at Ex. 2).

          On November 27, 2017, Wasiunec sent a reservation of rights letter on behalf of

Allianz to Groppe (the “ROR Letter”). (Doc. 50-3 at ¶ 6; Doc. 54-2 at ¶ 19; Doc 47-3 at

Ex. 3). The ROR Letter denied any Allianz obligation to defend or indemnify Luxottica

pursuant to the Policy. (Doc. 47-3, Ex. 3). Allianz, nevertheless, initially defended

Luxottica in the Underlying Lawsuit.

          E.    Allianz Denies Coverage

          On August 7, 2020, Allianz sent correspondence to Groppe. (Doc. 45). This

correspondence stated that Allianz has “reevaluated and reassessed its Reservation of

Rights Letter of November 27, 2017.” (Id. at PageID 700). The correspondence

provided an overview and timeline of the Underlying Lawsuit. (Id. at PageID 700–709).

And, based on the claims of the Underlying Lawsuit, Allianz determined that the claims

against Luxottica did not fall within the insurance policy. (Id. at PageID 711). Thus,

Allianz denied coverage and requested that Luxottica reimburse Allianz for fees and costs

already paid to defend Luxottica. (Id. at PageId 712).




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       F.     Action Before This Court

       Following Allianz’s denial of coverage, Luxottica filed the instant action, asserting

five claims against Allianz: (1) declaratory relief regarding Allianz’s duty to defend;

(2) declaratory relief regarding Allianz’s duty to indemnify; (3) breach of contract for

failure to pay defense costs; (4) declaratory relief regarding Allianz’s claim for

reimbursement; and (5) breach of the duty of good faith. (Doc. 1). In return, Allianz

asserted the following counterclaims against Luxottica: (1) breach of implied contract for

reimbursement; and (2) equitable restitution. (Doc. 17).

       Allianz also requested that the Court bifurcate Luxottica’s duty to defend claim

from its breach of the duty of good faith claim. (Doc. 15). Luxottica opposed that

motion, to which opposition Allianz replied. (Doc. 20, 21). However, both requested

expedited resolution of the duty to defend claim, given this claim may assist with the

resolution of all other claims. Accordingly, the parties filed the instant cross-motions for

summary judgment, which motions are now ripe for resolution.

                             II. STANDARD OF REVIEW

       A motion for summary judgment should be granted if the evidence submitted to

the Court demonstrates that there is no genuine issue as to any material fact, and that the

movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). See Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 247–48 (1986). The moving party has the burden of showing the absence of

genuine disputes over facts which, under the substantive law governing the issue, might

affect the outcome of the action. Celotex, 477 U.S. at 323. All facts and inferences must


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be construed in a light most favorable to the party opposing the motion. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

         A party opposing a motion for summary judgment “may not rest upon the mere

allegations or denials of his pleading, but . . . must set forth specific facts showing that

there is a genuine issue for trial.” Anderson, 477 U.S. at 248.

                                      III. ANALYSIS

         Allianz argues that it has no duty to defend Luxottica in the Underlying Lawsuit

because: (1) the claims of the Underlying Lawsuit do not trigger coverage under the

terms of the OPL Endorsement; and/or, (2) an exclusion to coverage applies. (See

generally Docs. 47-1, 52). Luxottica argues the opposite: (1) the broad language of the

OPL Endorsement provides coverage for the Underlying Lawsuit; and (2) no exclusion to

coverage applies. (See generally Docs. 50-1, 54).

         A.      Allianz’s Duty of Defend

         “The duty of an insurer to defend is separate and distinct from the duty to

indemnify.” M/G Transport Services, Inc. v. Water Quality Ins. Syndicate, 234 F.3d 974,

979 (6th Cir. 2000) (citing Lessak v. Metropolitan Casualty Ins. Co. of New York, 151

N.E.2d 730 (Ohio 1958)). Under Ohio law, “whether an insurer has a duty to defend an

action against an insured is initially determined by the scope of the pleadings.” Id. at

977. 6 Thus, an insurer’s duty to defend is not triggered by its actual legal liability.

NCMIC Ins. Co. v. Smith, 389 F. Supp. 3d 535, 540 (S.D. Ohio 2019). Rather, “[t]he



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    Both parties apply Ohio law.

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duty attaches whenever the complaint states a covered claim, or potentially or arguably

does so.” Id. (emphasis in original).

       “If none of the claims in the complaint against the insured are potentially or

arguably within the scope of the insurance policy, then the insurer has no duty to defend

the insured.” Insurance Co. of State of Pennsylvania v. Vimas Painting Co., Inc., No

4:06-CV-1048, 2007 WL 1412988, at *8 (N.D. Ohio May 10, 2007) (citing Wedge

Products v. Hartford Equity Sales Co., 509 N.E.2d 74 (Ohio 1987)). However, once a

court determines the insurer must defend one claim within a complaint, “it must defend

the entire lawsuit, even though other claims may not come within the coverage of the

policy.” Holloway Sportswear, Inc. v. Transportation Ins. Co., 177 F. Supp. 2d 764, 769

(S.D. Ohio 2001) (citing Preferred Mutual Ins. Co. v. Thompson, 491 N.E.2d 688 (Ohio

1986)) (emphasis added).

       Under Ohio law, the interpretation of an unambiguous insurance contract presents

a question of law. Bondex Int’l, Inc. v. Hartford Acc. & Indem. Co., 667 F.3d 669, 676

(6th Cir. 2011) (Nationwide Mut. Fire Ins. Co. v. Guman Bros. Farm, 652 N.E.2d 684,

686 (Ohio 1995)). The Supreme Court of Ohio has held “that an insurance policy is a

contract, and that the relationship between the insurer and the insured is purely

contractual in nature.” Nationwide Mutual Ins. Co. v. Marsh, 472 N.E.2d 1061, 1062

(Ohio 1984) (citing Ohio Farmers Ins. Co. v. Cochran, 135 N.E. 537 (Ohio 1922)). The

party seeking to recover under an insurance policy bears the burden of establishing that

the particular loss falls within the policy’s insuring agreement. State Farm Fire & Cas.

Co. v. Hiermer, 720 F.Supp. 1310, 1314 (S.D. Ohio 1988), aff’d 884 F.2d 580 (6th Cir.


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1989). Once the insured establishes that a particular loss falls within the policy’s

insuring agreement, the burden then shifts to the insurer to establish that an exclusion to

coverage applies. Bondex, 667 F.3d at 677 (6th Cir. 2011) (citation omitted).

       When interpreting insurance policies under Ohio law, a court considers the

following:

              Where the policy language sets forth the relevant coverages
              and exclusions in unambiguous terms, we must apply the
              terms as written, according to their plain and ordinary
              meaning. Specialized definitions provided in the policy
              govern notwithstanding their ordinary meaning, but
              ambiguous coverage or exclusion terms will be construed
              strictly against the insurer and liberally in favor of the
              insured. To establish ambiguity, the insured must provide a
              reasonable alternative understanding of the relevant policy
              language, but challenges to the fairness of the policy will not
              suffice.

Id. (internal quotations and citations omitted) (citing Ohio law).

       It is with these legal principles in mind that the Court considers whether, under the

Policy, Allianz owes Luxottica a duty to defend in the Underlying Lawsuit. As discussed

infra, the Court finds that Allianz owes such duty to defend.

       B.     The Parties’ Positions

       Both parties argue that the OPL Endorsement is the provision of the Policy that

dictates whether coverage extends to the Underlying Lawsuit. To reiterate, that provision

provides:

              We will pay those sums that the insured legally obligated to
              pay as damages because of any error or omission in providing
              professional services in the practices of optometry or optical
              services by your or on your behalf. Such services can be
              provided by any optician, optometrist or anyone with whom


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               you have a contract, agreement, or relationship including
               independent contractors and volunteers.      Such services
               include but are not limited to examinations, referrals,
               prescribing, fitting filing, 7 selling, demonstration and
               distributing ophthalmic lenses and similar products, but do
               not include surgery.

(Doc. 54-2 at ¶ 5–6).

        Luxottica contends that the OPL Endorsement’s language is broad, providing

sweeping coverage for the full range of optical services offered by LensCrafters. (Doc.

50-1 at PageID 912). Luxottica argues that the coverage for “optical services” expands

beyond services provided by professional optometrists and extends to services related to

its sale of eyewear. Thus, given this language in the policy, the policy should be

interpreted broadly in favor of coverage. (Id.) And, because the claims of the

Underlying Lawsuit broadly relate to providing optical services, Allianz has a duty to

defend Luxottica in the Underlying Lawsuit. (Id. at PageID 913–14).

        Allianz contends that the claims of the Underlying Lawsuit do not fall within the

scope of the OPL Endorsement. First, Allianz argues that the OPL Endorsement only

provides coverage for negligence or the medical malpractice of Luxottica’s medical

personnel, staff, or technicians because the OPL Endorsement covers “any error or

omission in providing professional services in the practices of optometry or optical

services.” (Doc. 47-1 at PageID 739). Thus, because the Underlying Lawsuit is focused

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  Luxottica contends that this is a typo and meant to provide coverage for “fitting[, and] fil[l]ing”
not “fitting filing.” (Doc. 50-1 at PageID 913). Allianz disputes this “typo.” (Doc. 52 at PageID
1862). Whether the policy details filing or filling is not a material dispute of fact, given this list
includes but is not limited to the outlined optical services. The Court, moreover, takes no
position on this dispute, and whether the OPL Endorsement reads filing or filling does not weigh
into this Court’s decision.

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on Luxottica’s advertising of the AccuFit system and the manufacturing of its precision

lenses, both actions that are unrelated to any professional services or malpractice, there is

no coverage.

       Allianz also contends that coverage is precluded by two of the OPL

Endorsement’s exclusions. (Doc. 47-1 at PageID 742). Specifically, Allianz argues that

the OPL Endorsement excludes coverage for: (1) “[d]amages expected or intended by the

insured, caused intentionally at the direction of the insured, or based on attendant

circumstances [that] should have been reasonably foreseen by the insured,” (Doc. 47-1 at

PageID 472 (quoting Doc. 1-1 at PageID 95)); and, (2) damages incurred as a result of

“[w]arranties and representations made at any time with respect to the fitness, quality,

durability, performance or use” of Luxottica’s product. (Doc. 47-1 at PageID 743

(quoting Doc. 1-1 at PageID 55)). Allianz again points to the claims of the Underlying

Lawsuit, arguing that the claims of the Underlying Lawsuit relate to Luxottica’s false

advertising of the AccuFit system and that the claims require some level of intent to

deceive or actual knowledge of Luxottica’s deceit. (Doc. 47-1 at PageID 472–73).

       C.      Analysis of Allianz’s Duty to Defend

       Upon review of the Policy, the Court finds that Allianz owes a duty to defend.

First, the Court is unpersuaded by Allianz’s argument that the OPL Endorsement only

applies to claims related to professional optometry services, such a negligence or medical

malpractice claims. The OPL Endorsement broadly covers “optical services” provided

by Luxottica. Those services reach beyond services provided by professional

optometrists, including but not limiting to examinations, prescriptions, sales, and


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distributions. (Doc. 54-2 at ¶ 5–6). Further, the plain language of the OPL

Endorsement provides coverage for “anyone with whom you have a contract, agreement,

or relationship.” (Id.) Thus, the Court finds that the OPL Endorsement reasonably

covers “optical services” provided by Luxottica employees, not only professional

services provided by professional optometrists.

       However, the analysis does not stop there. The main issue in dispute is whether

the claims of the Underlying Lawsuit fall within the scope of coverage.

       The claims of the Underlying Lawsuit allege that Luxottica falsely advertised

and/or omitted material facts related to its ability to manufacture prescription eyeglasses

that were five times more precise than traditional prescription eyeglasses. The claims

allege that Luxottica pushed the AccuFit system to customers, advertising that the

AccuFit product could provide a better lens given its precision, pupillary-distance

measurements. The claims allege that, even though Luxottica pushed this product, these

representations were false because Luxottica’s “decades-old” manufacturing made it

impossible for Luxottica to actually manufacture such precision lenses.

       The Court finds that these claims arguably fall within coverage. Although

advertising and manufacturing are not explicitly stated in the list of “optical services,” the

OPL Endorsement’s list of “optical services” is a non-exhaustive list. Had the parties

intended to restrict coverage to professional optometry services, or the list of services in

the endorsement, the policy could have been drafted in such a manner as to clearly and

explicitly limit such coverage. Moreover, the Court finds persuasive that the list of

services in the OPL Endorsement ranges from examinations to prescriptions to sales to


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distributions. A plain reading (and common sense) indicate that the broad range of

Luxottica’s activities, including advertising and manufacturing, arguably fall within the

scope of coverage.

       The Court is also unpersuaded by Allianz’s arguments that an exclusion to

coverage in the OPL Endorsement applies. Allianz first argues that the Underlying

Lawsuit is excluded from coverage because the gist of the Underlying Lawsuit is

Luxottica’s knowledge and/or intent to deceive customers with the AccuFit system.

Thus, the Underlying Lawsuit is excluded from coverage because the OPL Endorsement

includes an intentional injury exclusion, excluding coverage for “[d]amages expected or

intended by the insured, caused intentionally at the direction of the insured, or based on

attendant circumstances [that] should have been reasonably foreseen by the insured.”

(Doc. 47-1 at PageID 472).

       “[I]n order to avoid coverage on the basis of an exclusion for expected or

intentional injuries, the insurer must demonstrate that the injury itself was expected or

intended. It is not sufficient to show merely that the act was intentional.” Physicians Ins.

Co. of Ohio v. Swanson, 569 N.E.2d 906, 911 (Ohio 1991). Moreover, “if a plaintiff can

recover against an insured based merely on negligent conduct, a duty to defend applies

notwithstanding the existence of a [k]nowing [v]iolation provision in the insurance

contract.” Burlington Ins. Co. v. Eden Cryogenics LLC, 126 F. Supp. 3d 947, 957 (S.D.

Ohio 2015); see also Sanderson v. Ohio Edison Co., 635 N.E.2d 19 (1994) (“[a]n insurer

has an absolute duty to defend an action when the complaint contains an allegation in any

one of its claims that could arguably be covered by the insurance policy”). “[T]he court


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may examine the factual allegations in the underlying complaint to determine whether

they support a cause of action within the scope of the policy’s coverage.” NCMIC, 389

F. Supp. 3d at 544 (quotation and citations omitted).

       Allianz argues that “every count in the Underlying Lawsuit here alleges that

Luxottica knew, should have known, or intended to deceive the Underlying Plaintiffs

about the (in)accuracy of the eyeglass products they ultimately purchased based on those

misrepresentations.” (Doc. 52 at PageID 1874 (emphasis added)). Allianz contends that

this makes the intentional act and intentional injury so intrinsically tied that the act

necessarily resulted in the harm. (Id. (citing Allstate Co. v. Campbell, 942 N.E.2d 1090

(Ohio 2010)). Moreover, Allianz suggests that because all claims allege intent and/or

knowledge to deceive, and the Underlying Plaintiffs allege no negligence claims, the

Court should find that the intended injury exclusion unambiguously applies.

       In this case, there are certainly allegations in the Underlying Lawsuit related to

Luxottica’s intent and knowledge to deceive its consumers. For example, Count I of the

Underlying Complaint for violation of the California Business and Professions Code

alleges that “[Luxottica] committed unlawful, unfair, and/or fraudulent business acts or

practices by, among other things, engaging in conduct that [Luxottica] knew or should

have known was likely to and did deceive the public, including Plaintiffs and other

members of the Class.” (Underlying Complaint at ¶ 91). Count II alleges that

“[Luxottica] committed such violations of the [California] False Advertising law with

actual knowledge or knowledge fairly implied on the basis of objective circumstances.”

(Id. at ¶ 98).


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        However, not all claims include allegations of intent or knowledge. For example,

Count IV alleging violation of the Florida Deceptive and Unfair Trade Practices Act

contains no allegations related to Luxottica’s intent or knowledge. (Underlying

Complaint at ¶¶ 112–119). A review of Counts V and VI for violations of the New York

Business Code reveals the same. (Id. at ¶¶ 120–37). And, the Underlying Plaintiffs

allege an alternative to knowledge or intent: “[Luxottica]’s omission of the material fact

that its prescription eyeglasses were not ‘five times more accurate’ was likely to mislead

reasonable consumers acting reasonably under the circumstances.” (Id. at ¶ 126). 8

        These allegations support a finding that the Underlying Plaintiffs may succeed in

the Underlying Lawsuit (at least on one or some claims) without proving knowledge or

intent to deceive on the part of Luxottica. These claims arguably fall outside of the

knowing violation exception and within coverage. 9 And, once a court determines the

insurer must defend one claim within a complaint, “it must defend the entire lawsuit,

even though other claims may not come within the coverage of the policy.” Holloway

Sportswear, 177 F. Supp. 2d at 769. 10



8
  Luxottica’s omission of material fact is also an alleged common question of law for the class in
the Underlying Lawsuit: “Whether [Luxottica] omitted material facts about its manufacturing
process, including the fact that AccuFit measurements could not be converted into the
manufactured lenses.” (Underlying Complain at ¶ 81).
9
  At the very least, there are ambiguities in coverage that should be resolved in favor of the
insured.
10
  Allianz also argues that the claims in the Underlying Lawsuit cannot be considered any “error
or omission” related to optometry services under the OPL Endorsement, again because
Luxottica’s alleged intent and knowledge to deceive customers cannot constitute an error or
omission. This argument similarly fails.

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       Allianz also contends that the OPL Endorsement excludes coverage for

“[w]arranties and representations made at any time with respect to the fitness, quality,

durability, performance or use” of Luxottica’s product. (Doc. 47-1 at PageID 743 (citing

Doc. 1-1 at PageID 55)). But, a full reading of this section in the OPL Endorsement

clearly indicates that this exclusion does not apply.

       “Your work,” as defined by the policy, includes “[w]arranties or representations

made at any time with respect to the fitness, quality, durability, performance or use of

‘your work.’” (Doc. 1-1 at PageId 55). However, the OPL Endorsement’s exclusion for

“your work,” excludes coverage for “[c]osts or damages incurred for corrections, repair

or replacement of … Your work, arising out of the work or any portion thereof.” (Id. at

PageID 95 (emphasis added)). The allegations in the Underlying Lawsuit do not seek

costs or damages to correct, repair, or replace the Underlying Plaintiffs’ eyewear.

(Underlying Complaint at Prayer for Relief, PageID 1110). Thus, Allianz has not

demonstrated that this exclusion applies.

       Finally, the Court finds persuasive that the insurance policy generally excludes

coverage of “personal and advertising injury,” which term is specifically defined in the

policy as follows:

              “Personal and advertising injury” means injury, including
              consequential “bodily injury”, arising out of one or more of
              the following offenses:

                     a.     False arrest, detention or imprisonment;

                     b.     Malicious prosecution;




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                     c.     The wrongful eviction from, wrongful entry
                            into, or invasion of the right of private
                            occupancy of a room, dwelling or premises that
                            a person occupies, committed by or on behalf of
                            its owner, landlord or lessor;

                     d.     Oral or written publication, in any manner, of
                            material that slanders or libels a person or
                            organization or disparages a person’s or
                            organization’s goods, products or services;

                     e.     Oral or written publication, in any manner, of
                            material that violates a person's right of privacy;

                     f.     The use of another’s advertising idea in your
                            “advertisement”; or

                     g.     Infringing upon another's copyright.


(Doc. 1-1 at PageID 54).

       “Specialized definitions provided in the policy govern notwithstanding their

ordinary meaning.” Bondex Int’l, 667 F.3d at 677–78 (citation and quotation omitted).

This specialized definition does not include any injuries arising out of false advertising

or deceptive business practices. Any exclusions throughout the Policy to coverage for

“personal and advertising injury” do not apply in this case. Moreover, the parties

(specifically Allianz) could have included such claims in this specific and exhaustive list.

Thus, when interpreting the Policy as a whole, the fact that these claims are not included

in the “personal and advertising injury” exclusions furthers Luxottica’s arguable claim

that Allianz owes it a duty to defend in the Underlying Lawsuit.




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       In sum, Luxottica has demonstrated that the Underlying Lawsuit arguably falls

within the Policy and coverage applies. Allianz has not demonstrated that an exclusion to

coverage applies. Thus, Allianz owed Luxottica a duty to defend.

                                     IV. CONCLUSION

       Based upon the foregoing:

       1.      Luxottica’s motion for summary judgment (Doc. 50) on Luxottica’s duty to
               defend claim is GRANTED.

       2.      Allianz’s motion for summary judgment (Doc. 47) on Luxottica’s duty to
               defend claim is DENIED.

       3.      The Court DECLARES that Allianz owes Luxottica a duty to defend in the
               Underlying Lawsuit. Allianz SHALL reimburse Luxottica for any defense
               costs Luxottica was forced to incur as a result of Allianz’s denial of
               coverage.

       4.      Allianz’s motion to bifurcate (Doc. 15) is DENIED as moot. 11 The
               Calendar Order (Doc. 43) shall proceed as scheduled.

       IT IS SO ORDERED.

Date: 7/28/2021
                                                                Timothy S. Black
                                                                United States District Judge




11
   Allianz argued in that motion that the Court should bifurcate discovery on Luxottica’s duty to
defend and breach of the duty of good faith claims, arguing that resolution of the duty to defend
claim “should be dispositive” of Luxottica’s other claims. (Doc. 15). Having resolved the duty
to defend claim, bifurcation is now unnecessary, and the motion is denied as moot.

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